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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
In re:
LIZ RAMIREZ,                                                            Case No: 12-23051 AJC
       Debtor.                                                          Chapter 13
_____________________________/

               MOTION TO ALLOW DEBTOR TO SELL HOMESTEAD PROPERTY

       COMES NOW, Debtor, LIZ RAMIREZ, by and through undersigned counsel herein and files the
above styled motion and in support thereof states as follows:
       1. On May 29, 2012, Debtor filed a voluntary petition for Chapter 13 bankruptcy relief.
       2. Debtor owns homestead property located at 12695 NW 8 Ln, Miami, FL 33182 having a legal
description:
Lot 1, in Block 24 of LAKE POINTE SECTION FOUR, according to the Plat thereof, as recorded in
Plat Book 136 at Page 82 of the Public Records of Miami Dade County, Florida.

       3. The property described above is exempted as homestead in the Petition schedules.
       4. Debtor holds an executed residential sales contract for the sale of the above described property. See
attached purchase and sale agreement marked as Exhibit “A”.
       5. The lien that is currently encumbering the Debtor’s homestead are being paid inside the Plan as set
forth in the provisions of the confirmed Plan.
       6. Debtor will modify the plan accordingly.
       WHEREFORE, Debtor respectfully requests that this Court issue an Order allowing Debtor to sell the
homestead property and any other relief deemed just and reasonable.
       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this court
set forth in Local Rule 2090-1(A).
                                                               Law Offices of Samir Masri
                                                               901 Ponce De Leon Blvd., Suite 101
                                                               Coral Gables, FL 33134
                                                               Phone (305) 445-3422


                                                               By:      s/ Samir Masri
                                                                     Samir Masri, Esquire
                                                                     FBN: 145513
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